Case 1:20-cv-00484-LO-TCB Document 452 Filed 12/14/21 Page 1 of 2 PageID# 13704




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division


 AMAZON.COM,INC.,et al

                Plaintiffs,
                                              )
                                                  CIVIL ACTION l:20cv484
                                              )
 WDC HOLDINGS,LLC,et al

                Defendants


              NOTICE OF GROUNDS FOR JUDICIAL DISOUALIFICATION


                On April 27, 2020 Judge Liam O'Grady was assigned the case of Amazon.com,

 Inc., et al v. WDC Holdings, LLC,et al (1:20cv484). Judge O'Grady has continued to handle

 this case since assigned.

                On November 23,2021, Judge O'Grady learned that his wife held approximately

 $22,000 of stock in Amazon, not in a mutual fiind as he understood, but in a brokerage account.

 The difference means that he is not entitled to the safe haven exception to being required to

 disqualify himselffrom all Amazon cases, as it constitutes a financial interest in a party to the

 litigation. Judge O'Grady's wife sold all shares in Amazon.com on December 2,2021.

                Disqualification ofjudges to hear cases is govemed by 28 U.S.C. § 455, which

 provides in relevant part:

               (a) Any justice,judge, or magistrate judge ofthe United States shall disqualify
               himself in any proceeding in which his impartiality might reasonably be
                questioned.

               (b) He shall also disqualify himself in the following circumstances:

                       (4)He knows that he, individually or as a fiduciary, or his spouse or minor
                        child residing in his household, has a financial interest in the subject
                        matter in controversy or in a party to the proceedings, or any other interest
                        that could be substantially affected by the outcome ofthe proceeding ...
Case 1:20-cv-00484-LO-TCB Document 452 Filed 12/14/21 Page 2 of 2 PageID# 13705
